              Case 1:20-cv-02533-UNA Document 3 Filed 09/30/20 Page 1 of 1




                            UNITED STATES DISTRICT COURT                                  FILED
                            FOR THE DISTRICT OF COLUMBIA                                        9/30/2020
                                                                                     Clerk, U.S. District & Bankruptcy
                                          )                                          Court for the District of Columbia
SANDRA DENISE REID,                       )
                                          )
            Plaintiff,                    )
                                          )
      v.                                  )               Civil Action No. 20-2533 (UNA)
                                          )
STATE OF GEORGIA, et al.,                 )
                                          )
            Defendants.                   )
_________________________________________ )

                                  MEMORANDUM OPINION

       This matter is before the Court on review of this pro se plaintiff’s application to proceed in

forma pauperis and her civil complaint. Plaintiff’s claims pertain to physical injuries she sustained in an

accident in Tift County, Georgia, medical care she was denied, and discrimination she allegedly has

suffered. All of the parties are in Georgia, and none of the events giving rise to plaintiff’s claims

occurred in the District of Columbia. For these reasons it does not appear that venue in this district is

proper, or that this Court properly may exercise personal jurisdiction over the defendants. Furthermore,

the Court notes that plaintiff’s claims are substantially similar to the claims she has brought in a lawsuit

pending before the United States District Court for the Middle District of Georgia. See Reid v. Dobard,

No. 7:20-CV-22 (HL) (M.D. Ga. Dec. 4, 2019); see also Reid v. Georgia Dep’t of Labor Career Ctr.,

No. 7:16-CV-229 (HL) (M.D. Ga. May 10, 2017).

       The Court will grant plaintiff’s application to proceed in forma pauperis and dismiss the

complaint without prejudice. An Order is issued separately.

DATE: September 30, 2020                              /s/
                                                      RUDOLPH CONTRERAS
                                                      United States District Judge
